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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

V. CASENO, O.24-Cr- CS-MC-NHA
18 U.S.C. § 922(g)
CHRISTOPHER BOCK
INDICTMENT
The Grand Jury charges:
COUNT ONE

On or about November 29, 2023, in the Middle District of Florida, the

defendant,
CHRISTOPHER BOCK,

knowing that he had been previously convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, including the following offenses:

Robbery With a Firearm, convicted on or about October 26, 2016; and

Shooting At/Within a Vehicle, convicted on or about October 26, 2016
did knowingly possess, in and affecting foreign and interstate commerce,
ammunition, to wit: .40 caliber CBC rounds, .40 caliber Ammo Inc. rounds, .40
caliber Federal hollow point rounds, and .40 caliber Sig Hollow point rounds.

All in violation of 18 U.S.C. §§ 922(g) and 924(a)(8).

FORFEITURE

1. The allegations contained in Count One are incorporated by reference
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for the purpose of alleging forfeiture pursuant to the provisions of 18 U.S.C. § 924(d)
and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 18 U.S.C. § 922(g), the defendant
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §
2461(c), all ammunition involved in or used in the violation.

3. The property to be forfeited includes, but is not limited to, .40 caliber
CBC rounds, .40 caliber Ammo Inc. rounds, .40 caliber Federal hollow point rounds,
and .40 caliber Sig Hollow point rounds, seized from the defendant on or about
November 29, 2023.

4. If any of the property described above, as a result of any acts or
omissions of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with-other property, which cannot be
divided without difficulty.
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the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

A TRUE BILL,

Foreperson

ROGER B. HANDBERG
United States Attorney

Assis ant United States Attorney
Chief, Violent Crimes and Narcotics
Section

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i i Cc /Preston, Jr.
FORM OBD-34
February 24

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No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA

Vs.

CHRISTOPHER BOCK

INDICTMENT

Violations: 18 U.S.C. § 922(g)

A true bill,

Foreperson

Filed in open court this 15" day

of February 2024.
CX ue ( / AK)
/ Clerk

Bail $

GPO 863 525
